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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

                       v.

 MATTHEW COUNCIL,                                    Case No. 1:21-cr-207 (TNM)

                       Defendant.


                                            ORDER

       Before the Court is the Government’s Response to an Order of the Court, ECF No. 59.

This Court previously ordered the Government to provide a table of the sentencing

recommendations and ultimate sentences imposed for violations of 18 U.S.C. §§ 111 and 231

between January 2020 and January 2022. See Order, ECF No. 57. The Court requested this

information in light of the relatively few sentences imposed under these sections and to reduce

unwanted sentencing disparities.

       The Government now seeks partial relief from that Order. See Response, ECF No. 59.

Though the Government submits information about the sentences imposed under 18 U.S.C. §§

111 and 231, it claims it cannot provide information about the recommended sentences in those

cases. See id. The Government argues that collecting such information would be unduly

burdensome, and that the information would not assist the Court in reducing unwanted

sentencing disparities. For good cause shown, the Court will modify its Order, ECF No. 57, to

remove the requirement that the Government submit sentencing recommendations for defendants

charged with violating 18 U.S.C. §§ 111 and 231.

       In light of the Government’s inability to produce the requested information, the Court

reached out to the United States Sentencing Commission seeking further data. The Commission
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provided aggregate information about the sentences imposed under 18 U.S.C. §§ 111 and 231

broken out by criminal history category. The Commission also provided aggregate data about

the ultimate sentences imposed under 18 U.S.C. § 111 where the offender received an adjustment

for acceptance of responsibility under USSG § 3E1.1. And the Court notes that another

defendant in a pending January 6 case has been able to collect a subset of the information the

Government says it cannot gather. See United States v. McCaughey, No. 21-cr-40, ECF No. 138,

138-1 (collecting cases where the government charged individuals with violations of Section 111

and subsequently dismissed the charges). Copies of the Commission’s charts and ECF 138-1 in

McCaughey are attached to this Order.

       The parties may utilize these sources in analyzing the 18 U.S.C. § 3553(a) factors. The

Court notes that the Government has not provided any information contradicting the attached

documents.

       For these reasons, it is hereby

       ORDERED that the Government is relieved from complying with the part of the Court’s

[57] Order requiring it to provide the sentencing recommendations for violations of Section

111(a) and/or Section 231.



       SO ORDERED.                                                        2022.10.12
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Signed: October 12, 2022                             –––––––––––––––––––––––––––
                                                     TREVOR N. McFADDEN, U.S.D.J.
